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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 Richard Marasco, individually on behalf of himself     Case No. 16-cv-00232(PKC)(JO)
 and all others similarly situated,

                       Plaintiff,

                -against-

 American Expediting Company, Inc., A to Z
 Logistics, Inc., Victor Finnegan, and John Does 1-
 25,

                       Defendants.




 ______________________________________________________________________________

            MEMORANDUM OF LAW IN SUPPORT OF DEFENDENT
     VICTOR FINNEGAN’S MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)




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 I.     PRELIMINARY STATEMENT

        Despite having been provided with several opportunities to do so, Plaintiff Richard

 Marasco (“Plaintiff”) has failed to plead a single viable claim against Defendant Victor Finnegan

 (“Finnegan”) in connection with Finnegan’s alleged role as president of A to Z Logistics, Inc.

 (“A to Z Logistics”). First and foremost, Plaintiff’s wage and hour claims under the Fair Labor

 Standards Act (“FLSA”) and New York Labor Law (“NYLL”) are based exclusively upon a

 threadbare and conclusory recital of some of the “economic reality” test factors, which is

 insufficient to plausibly state that Finnegan operated as an “employer” under those statutes.

 Second, Plaintiff’s conversion claim fails because Plaintiff fails to allege that Finnegan ever

 acted outside the scope of his employment, or with bad faith or fraud, with respect to the alleged

 conduct giving rise to the claim.

        For these reasons, and those set forth below, Defendant Finnegan moves, pursuant to

 Rule 12(b)(6) of the Federal Rules of Civil Procedure, to dismiss all claims asserted against him

 in Plaintiff’s third Amended Class Action and Collective Action Complaint (the “TAC”) that are

 premised upon his alleged role as president of A to Z Logistics.

 II.    RELEVANT FACTUAL AND PROCEDURAL HISTORY

        A.      Plaintiff’s Initial Complaint

        Plaintiff filed the initial Complaint in this matter on January 15, 2016. Plaintiff first filed

 suit against A to Z Couriers, Inc., American Expediting Company, Inc. (“AMEX”), Adam Dally,

 and Finnegan. (Docket No. 1). Plaintiff sought to pursue several wage and hour claims (in

 addition to a conversion claim) against AMEX and Finnegan on two separate theories.

 Specifically, Plaintiff alleged he performed services for AMEX as an acknowledged employee

 (while performing “messenger” services), and also included vague allegations in the complaint

 about delivery services that drivers performed for AMEX as putative independent contractors.

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 (Id., ¶¶ 131–34; 164; 175). Plaintiff alleged he ceased working for AMEX “as a[n] [employee]

 messenger [at] the end of 2014” (id., ¶ 55), but failed to specify whether, or when he began or

 ceased, personally performing services arranged by AMEX as a putative independent contractor.

        On March 31, 2016, in response to the claims asserted against them in the initial

 complaint, Defendants AMEX and Finnegan requested a pre-motion conference to address their

 anticipated motion to compel individual arbitration. (Docket No. 11). Plaintiff responded to

 AMEX and Finnegan’s letter on April 7, 2016, asserting that the arbitration provision, contained

 in an agreement dated March 11, 2015, was inapplicable because it was purportedly signed after

 the events giving rise to his claims occurred. (Docket No. 13).

        At the pre-motion conference, which was held on April 20, 2016, the Court ordered the

 parties to brief the issue of whether the arbitration provision applied to Plaintiff’s claims, and

 directed the parties to informally exchange documents regarding the specific time period during

 which Plaintiff performed services arranged by AMEX.              (April 21, 2016 Minute Entry).

 Defendants subsequently produced documentation demonstrating that during the time period in

 which Plaintiff alleged to have worked as an acknowledged foot messenger employee for

 AMEX, he was instead employed by A to Z Logistics, which was not named as a defendant.

 Defense counsel also explained that Plaintiff began performing delivery services brokered by

 AMEX as an independent contractor in March 2015.

        B.      Plaintiff’s First Amended Complaint

        On May 25, 2016, Plaintiff sought leave to amend the complaint to add A to Z Logistics

 as a party to the action, and the Court granted Plaintiff’s request. (Docket No. 22). Plaintiff filed

 the First Amended Complaint on June 24, 2016. (Docket No. 26).                This iteration of the

 Complaint was again deficient in several respects. As the Court acknowledged following a

 hearing on the temporal scope of the arbitration provision, the complaint “lack[ed] clarity …
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 regarding which claims [wer]e being asserted against which Defendants for which time periods--

 and in particular, … it remain[ed] unclear whether Plaintiff allege[d] that he performed work for

 American Expediting as an employee or an independent contractor, and at what times.”

 (September 7, 2016 Minute Entry). The Court provided Plaintiff with an opportunity to conduct

 limited discovery on this issue, and to amend the Complaint a second time. (Id.)

          C.     Plaintiff’s Second Amended Complaint

          Plaintiff filed the Second Amended Complaint (the “SAC”) on October 28, 2016.

 (Docket No. 40). Because the SAC made clear that Plaintiff’s claims against AMEX and

 Finnegan related, at least in part, to the time period after he executed the agreement containing

 the arbitration provision, AMEX and Finnegan subsequently renewed their request to bring a

 motion to compel individual arbitration.1 (Docket No. 41). The Court granted the request, and

 American Expediting and Finnegan served Plaintiff with their motion to compel arbitration on

 January 11, 2017. (December 7, 2017 Minute Entry; Docket No. 47). Rather than oppose the

 motion, Plaintiff stipulated to a voluntary dismissal of the claims he asserted against AMEX and

 Finnegan, in connection with Finnegan’s alleged role as Chief Executive Office of AMEX.

 (Docket No. 51). The Stipulation of Dismissal was So-Ordered by the Court on March 16, 2017

 (March 16, 2017 Docket Entry).

          On November 28, 2016, A to Z Logistics and Finnegan (in connection with his alleged

 role as president of A to Z Logistics) requested a pre-motion conference to address their

 anticipated motion to dismiss several claims asserted against them in the SAC due to Plaintiff’s

 failure to allege facts sufficient to state a claim for relief. (Docket No. 45). At the pre-motion

 conference, the Court acknowledged many of the deficiencies in the SAC, as well as the

 deficiencies in prior versions. (See Affirmation of Kevin R. Vozzo, Esq., Exhibit A, 3:5-19,
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     Plaintiff also removed Defendants Adam Dally and A to Z Couriers, Inc. from the SAC.
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 4:20-5:3). The Court reluctantly granted Plaintiff permission to amend his Complaint a third

 time, and indicated that it would be Plaintiff’s last opportunity to amend. (Id., 7:5-6).

        D.      Plaintiff’s Third Amended Complaint

        On February 10, 2017, following the January 11, 2017 pre-motion conference, Plaintiff

 filed the operative TAC. (Docket No. 48). In the TAC, Plaintiff asserts causes of action against

 for: (i) minimum wage violations under the FLSA and NYLL; (ii) overtime violations under the

 FLSA and NYLL; (iii) failure to reimburse Plaintiff for “tools of the trade” under the FLSA and

 NYLL; (iv) spread of hours pay violations under the NYLL; (v) failure to furnish wage

 statements under the NYLL; (vi) unlawful deduction violations under the NYLL; and (vii)

 conversion. (TAC, ¶¶ 187–244).

        Plaintiff alleges that in 2013, he was employed as a messenger by A to Z Logistics,

 making deliveries on foot and using public transit and as a delivery driver, and that Finnegan was

 president of A to Z Logistics. (TAC, ¶¶ 18; 66; 146–47; 159). Plaintiff further contends that

 Defendant Finnegan was an “employer” for purposes of the FLSA and NYLL and thus, is jointly

 and severally liable for alleged violations of the FLSA and NYLL. To that end, Plaintiff alleges

 – without any supporting details or facts – that Finnegan controlled the day-to-day operations of

 “the Defendants,” and asserts, upon information and belief, that Finnegan exercised decision-

 making authority over the terms and conditions of Plaintiff’s employment. (TAC, ¶ 18).

 III.   PLAINTIFF’S CLAIMS SHOULD BE DISMISSED WITH PREJUDICE

        A.      Legal Standard

        A Complaint is subject to dismissal unless it contains “sufficient factual matter, accepted

 as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009) (quoting Bell Atlantic v. Twombly, 550 U.S. 544, 570 (2007)); see also Harris v.

 Mills, 572 F.3d 66, 71–72 (2d Cir. 2009) (applying Iqbal/Twombly standard). “A pleading that

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 offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will

 not do.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555 (2007)).

        Rather, “[f]actual allegations must be enough to raise a right to relief above the

 speculative level, on the assumption that all the allegations in the complaint are true (even if

 doubtful in fact).” Twombly, 550 U.S. at 555. This “plausibility standard” requires “more than a

 sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678. Therefore, the

 complaint must contain “more than the unadorned, the defendant-unlawfully-harmed-me

 accusation.” Matson v. Bd. of Educ. of the City Sch. Dist. of N.Y., 631 F.3d 57, 63 (2d Cir. 2011)

 (internal quotation marks and citations omitted).

        In deciding a Rule 12(b)(6) motion, the Court must accept all factual allegations in the

 complaint as true and draw all reasonable inferences in favor of the plaintiff. Id.; see also

 Ruston v. Town Bd. for the Town of Skaneateles, 610 F.3d 55, 59 (2d Cir. 2010) (“When there

 are well-pleaded factual allegations, a court should assume their veracity and then determine

 whether they plausibly give rise to an entitlement to relief.”) (quoting Ashcroft, 556 U.S. at 679).

 The same is not true, however, of the legal conclusions derived from those factual allegations.

 See Iqbal, 556 U.S. at 678; In re NYSE Specialists Sec. Litig., 503 F. 3d 89, 95 (2d Cir. 2007) (a

 court need not accept as true “legal conclusions, deductions or opinions couched as factual

 allegations.”) (quoting United States v. Bonanno Organized Crime Family of La Casa Nostra,

 879 F.2d 20, 27 (2d Cir. 1989) (internal quotation marks omitted)). In addition, “[t]hreadbare

 recitals of the elements of a cause of action, supported by mere conclusory statements, do not

 suffice.” Harris, 572 F.3d 66, 72 (2d Cir. 2009) (quoting Iqbal, 556 U.S. at 678).




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         B.      Plaintiff Has Failed To Plausibly Plead That Finnegan Was His Employer
                 Under the FLSA and NYLL

         A plaintiff may bring suit against an individual under the FLSA or NYLL where the

  individual is an “employer” under those statutes. See Herman v. RSR Sec. Servs. Ltd., 172 F.3d

  132, 139 (2d Cir. 1999) (FLSA); Coffin v. MRI Enters., No. 11-civ-2453(DRH)(ARL), 2014 WL

  5363855, at *16–17 (E.D.N.Y. Oct. 21, 2014) (NYLL). “District courts in this Circuit ‘have

  interpreted the definition of ‘employer’ under the [NYLL] coextensively with the definition used

  by the FLSA.” Coley v. Vannguard Urban Imp. Ass’n Inc., No. 12-civ-5565(PKC), 2014 WL

  4793825, at *2 n.5 (E.D.N.Y. Sept. 24, 2010).

         In making this determination, courts evaluate whether the alleged employer possessed the

  power to control the workers in question. See Herman, 172 F.3d at 139. Relevant factors

  include: “whether the alleged employer (1) had the power to hire and fire the employees, (2)

  supervised and controlled employee work schedules or conditions of employment, (3)

  determined the rate and method of payment, and (4) maintained employment records.” Id. at 105

  (citing Carter v. Dutchess Cmty. College, 735 F.2d 8, 12 (2d Cir. 1984)). Courts also examine

  whether alleged individual employers possess operational control over the company’s

  employment of the plaintiff. See Irizarry v. Catsimatidis, 722 F.3d 99, 109 (2d Cir. 2013).

         To survive a motion to dismiss, a plaintiff must allege more than “mere boilerplate

  allegations that an individual meets the various prongs of the economic reality test.” Bravo v.

  Established Burger One LLC, No. 12-civ-9044(CM), 2013 WL 5549495, at *7 (S.D.N.Y. Oct. 8,

  2013) (granting motion to dismiss individual defendants). Indeed, courts within the Second

  Circuit routinely dismiss FLSA and NYLL claims against individuals when they are only based

  upon “conclusory allegations designed to satisfy th[e] economic reality test.” Nakahata v. New

  York-Presbyterian Healthcare Sys., Inc., No. 11-civ-6658 (PAC), 2012 WL 3886555, at *12


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  (S.D.N.Y. Sept. 6, 2012) (quoting Sampson v. MediSys Health Network, No. 10-Civ-

  1342(SJF)(ARL), 2012 WL 3027850, at *15–16 (E.D.N.Y. Feb. 9, 2012)); see also Tracy v.

  NVR, Inc., 667 F. Supp. 2d 244, 246–47 (W.D.N.Y. 2009) (dismissing claims and denying leave

  to amend where amended complaint contained only boilerplate allegations reciting prongs of the

  economic reality test, with no supporting details other than defendant’s job title); Gisomme v.

  HealthEx Corp., No. 13-civ-2541(LDW), 2014 WL 2041824, at *3–4 (E.D.N.Y. May 15, 2014)

  (recognizing that the conclusory allegations that an individual defendant “was ‘actively

  involved’ in day-to-day operations, exercising significant managerial control over their

  operations, policies, practices, and procedures” with the power to “hire and terminate employees,

  control work scheduled and conditions of employment, and set wages” were inadequate to

  demonstrate that he was an employer within the meaning of the FLSA); Coley, 2014 WL

  4793825 at *3 (holding allegation that “[a]s a member of the Board of Directors, defendant

  Hansard was responsible to manage the affairs of defendant Vannguard, including, but not

  limited to, making decisions concerning employee wages and payment of employee wages” as

  too conclusory to articulate the third prong, i.e. that individual defendant determined the rate and

  method of payment for employees); Wolman v. Catholic Health Sys. of Long Island, 853 F.

  Supp. 2d 290, 299 (E.D.N.Y. 2012) (dismissing FLSA claim against President, CEO, and

  Director of defendant employer despite the allegations that the individual (1) actively managed

  the company; (2) made decisions regarding operations, human resources, benefits, and payroll;

  and (3) was involved in creating the illegal policies complained of in the lawsuit, because the

  plaintiff failed to adequately allege the requisite control over the workers in question).

         Here, Plaintiff bases his FLSA and NYLL claims against Finnegan on nothing more than

  a formulaic recitation of some (but not all) of the economic reality test factors, without any



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  supporting facts or details. Specifically, beyond alleging that Finnegan serves as president of A

  to Z Logistics (TAC, ¶ 16), Plaintiff states that:

             Mr. Finnegan operates and/or controls the day-to-day operations and
             management of the Defendants. Upon information and belief, at all
             relevant times, Mr. Finnegan exercised decision-making authority over
             the terms and conditions of Plaintiff’s, the Collective Action
             Members’ and New York Class Members’ employment, and had the
             authority to direct and control these employees’ work performance,
             and/or was responsible for making operational and managerial
             decisions, including those with respect to employees’ hours worked,
             rates/methods of pay, and hiring/firing.

  (TAC, ¶ 18).

         Notably absent are any supporting facts or details about when, where, or how Finnegan

  allegedly “operates and/or controls” A to Z Logistics’ operations, “exercised decision-making

  authority over the terms and conditions of Plaintiff’s … employment,” or “had the authority to

  direct and control [his] work performance.” Similarly, although Plaintiff states in conclusory

  fashion that Finnegan was “responsible for making operational and managerial decisions,” he

  fails to provide any supporting details in this regard beyond formulaically restating some of the

  factors relevant to the economic realities test. In addition, Plaintiff does not allege that he was

  personally hired or fired by Finnegan. Nor does he allege any direct contact with him. See

  Sampson, 2012 WL 3027838, at *5 (claims dismissed where plaintiffs did not allege individual

  defendants ever had direct contact with them). Accordingly, Plaintiff’s boilerplate allegations

  are far too speculative and conclusory to plausibly state that Finnegan operated as his

  “employer” under the FLSA or NYLL.

         In sum, because the allegations against Finnegan are insufficient to state plausibly that he

  had operational control over Plaintiff as a matter of economic reality, the FLSA and NYLL

  claims asserted against Finnegan should be dismissed with prejudice.



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         C.      Plaintiff’s Conversion Claim Should Be Dismissed

          “In general, absent bad faith or fraud, corporate officers and directors acting within the

  scope of their employment cannot be held personally liable for breaches of contract or tortious

  acts committed by their corporations.” Rella v. N. Atl. Marine, Ltd., No. 02-civ-8537(GEL), 2004

  WL 1418021, at *9 (S.D.N.Y. June 23, 2004) (citing to Mills v. Polar Molecular Corp., 12 F.3d

  1170, 1177 (2d Cir. 1993); Shostack v. Diller, No. 15-civ-2255(GBD)(JLC), 2016 WL 958687,

  at *3 (S.D.N.Y. Mar. 8, 2016) (dismissing complaint against individual defendants, stating that

  “absent bad faith or fraud, corporate officers and directors acting within the scope of their

  employment cannot be held personally liable for breaches of contract or tortious acts committed

  by their corporations” and noting that “Plaintiff failed to plead any facts showing that the

  individual defendants participated, directed, were aware of, or benefitted from, the actions on

  which he bases his claims” choosing instead to rely upon speculation and legal conclusions).

         In this case, in addition to failing to allege any specific facts about Finnegan’s personal

  involvement with the alleged policies and practices giving rise to his conversion claim, Plaintiff

  fails to allege that Finnegan acted outside the scope of his employment, or that he personally

  acted with bad faith or fraud. Without these threshold allegations, Plaintiff cannot state a claim

  for conversion against Finnegan.

         D.      Plaintiff Should Not Be Granted Leave To Amend

         Should Plaintiff seek leave to amend his complaint to remedy the deficiencies noted

  above, his request should be denied. See Cont'l Petroleum Corp. v. Corp. Funding Partners,

  LLC, No. 11-civ-7801(PAE), 2012 WL 1856474, at *5 (S.D.N.Y. May 22, 2012) (denying

  motion to amend complaint because plaintiffs had multiple opportunities to allege sufficient facts

  to plead fraud claim, and plaintiffs did not claim that any new facts or theories of liability were

  unavailable to them at time of previous submissions).

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            As stated, since this action was initiated on January 15, 2016, Plaintiff has amended the

  Complaint three times to remedy a variety of pleading deficiencies. In addition, at the January

  11, 2017 pre-motion conference, the Court stated that it would only permit Plaintiff to amend the

  Complaint one additional time. Plaintiff squandered this opportunity. Accordingly, Plaintiff’s

  claims against Finnegan should be dismissed with prejudice, and Plaintiff should not be granted

  leave to amend.

  IV.       CONCLUSION

            For all of the foregoing reasons, Defendant Finnegan respectfully requests that the Court

  issue an Order dismissing the claims asserted against him in connection with his alleged role as

  president of A to Z Logistics with prejudice, and granting such other further as it deems just and

  proper.

                                                         Respectfully submitted,

  Dated: April 11, 2017
  New York, New York
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